                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

JEFFERSON GRIFFIN,
     Plaintiff,
     v.
NORTH CAROLINA STATE BOARD OF
ELECTIONS,
     Defendant,
                                                     Case No. 5:24-cv-00731-M-RJ (lead)
     and
ALLISON RIGGS, NORTH CAROLINA
ALLIANCE FOR RETIRED AMERICANS,
VOTEVETS ACTION FUND, TANYA
WEBSTER-DURHAM, SARAH SMITH,
JUANITA ANDERSON,
     Intervenor-Defendants.
NORTH CAROLINA DEMOCRATIC PARTY,
    Plaintiff,
    v.
                                                     Case No. 5:24-cv-00699-M-KS
NORTH CAROLINA STATE BOARD OF
ELECTIONS et al.,
    Defendants.
CARRIE CONLEY et al.,
    Plaintiffs,
    v.                                               Case No. 5:25-cv-00193-M-RJ
ALAN HIRSCH et al.,
   Defendants.


  VOTEVETS ACTION FUND, NORTH CAROLINA ALLIANCE FOR RETIRED
  AMERICANS, TANYA WEBSTER-DURHAM, SARAH SMITH, AND JUANITA
   ANDERSON’S MOTION FOR LEAVE TO FILE AMENDED ANSWERS AND
                         CROSSCLAIMS

       VoteVets Action Fund, North Carolina Alliance For Retired Americans, Tanya Webster-

Durham, Sarah Smith, and Juanita Anderson (collectively, “VoteVets Intervenors”) submit this




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motion for leave to file amended answers and assert crossclaims against the North Carolina Board

of Elections (“the Board”) pursuant to Federal Rules of Civil Procedure 13 and 15.

       In support of this motion, VoteVets Intervenors rely on the bases and authorities set forth

in the attached memorandum in support. Counsel for VoteVets Intervenors conferred with counsel

for Justice Riggs, Judge Griffin, and the Board before filing this motion. The Board takes no

position on the motion; Justice Riggs consents to the motion; and Judge Griffin opposes the

motion.

 Date: May 1, 2025                             Respectfully submitted,

                                               /s/ Lalitha D. Madduri
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                                               Counsel for VoteVets Intervenors VoteVets Action
                                               Fund, the North Carolina Alliance for Retired
                                               Americans, Tanya Webster-Durham, Sarah
                                               Smith, and Juanita Anderson


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